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    1                                              IN THE DISTRICT COURT IN AND FOR
                                                   THE MIDDLE DISTRICT OF FLORIDA
    2                                              JACKSONVILLE DIVISION

    3                                              CASE NO. 3:11-cv-00125
        STEPHANIE PARSONS,
    4
               Plaintiff,
    5
        v.
    6
        SHAPIRO and PRICE CORP.
    7
              Defendant.
    8   _____________________________________/
    9
                               NOTICE OF DISMISSAL WITHOUT PREJUDICE
10
               NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of Court of the
11

12      Middle District Florida Plaintiff’s Notice of Dismissal of Case Without Prejudice, a copy of

13      which is herewith served upon Defendant.

14                           RESPECTFULLY SUBMITTED this 28th day of June, 2011.

15
                                                       By: s/ Alex Weisberg
16                                                     ALEX D. WEISBERG
                                                       FBN: 0566551
17                                                     WEISBERG & MEYERS, LLC
                                                       ATTORNEYS FOR PLAINTIFF
18                                                     5722 S. Flamingo Rd, Ste. 656
                                                       Cooper City, FL 33330
19                                                     (954) 212-2184
                                                       (866) 577-0963 fax
20                                                     aweisberg@attorneysforconsumers.com

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                                           Notice of Dismissal ‐ 1
Case 3:11-cv-00125-RBD-JBT Document 6 Filed 06/28/11 Page 2 of 2 PageID 19




    1
                                          CERTIFICATE OF FILING
    2
               I certify that on June 28, 2011, I electronically filed the foregoing Motion with the clerk
    3
        of the U.S. District Court using the electronic case filing system of the court.
    4

    5
                            CERTIFICATE OF SERVICE VIA REGULAR MAIL
    6

    7          I, Alex D. Weisberg, certify that a true and correct copy of the foregoing was served upon

    8   Shapiro and Price Corp., Attn: Legal Department, 4901 Harlem Road, Amherst, NY 14226, by

    9   depositing the same on July 28, 2011, in the U.S. Mail in an envelope with first class postage

10      prepaid thereon.

11

12                                                         By: s/ Alex Weisberg
                                                           ALEX D. WEISBERG
13                                                         FBN: 0566551
                                                           WEISBERG & MEYERS, LLC
14                                                         ATTORNEYS FOR PLAINTIFF
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                                              Notice of Dismissal ‐ 2
